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                                                                     Original - Court                                 2nd copy - Plaintiff
        Approved, SCAO                                               1st copy - Defendant                             3rd copy - Return

              STATE OF MICHIGAN                                                                                              CASE NO.
                      JUDICIAL DISTRICT                               COMPLAINT                                  2022-193417-CB
       Oakland 6th Busi JUDICIAL CIRCUIT                          Pagel  of 54 pages
                      COUNTY PROBATE                                                                            JUDGE MICHAEL WARREN
      Court address                                                                                                                    Court telephone no.
      1200 N. Telegraph Road, Department 404, Pontiac, MI 48341-0404                                                                  248-858-0345
      Plaintiff's name(s), address(es), and telephone no(s).                          Defendant's name(s), address(es), and telephone no(s).
      Evelia M. Naranjo, Pro Se                                                       Matt Endre
      3405 S. Union Ave., Apt #1F                                                     Dale Sailer
      Chicago, IL 60616                                                               David Cripe
      Telephone Mobile: (312) 622-8787                                                Michael Yellen
0                                                                                     BELFOR-Northbrook
                                                                                      BELFOR USA Group Inc.
      Plaintiff's attorney, bar no., address, and telephone no.
                                                                                      185 Oakland Avenue, Suite 300
                                                                                      Birmingham, Michigan 48009
                                                                                      Telephone: 248-594-1144
                                                                                      Attention: Chief Operating Officer




>,     See attached Plaintiffs Complaint
C




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      April 1, 2022                                                             Evelia M. Naranjo
      Date                                                                      Signature



      MC 01a    (6/19) COMPLAINT
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                             STATE OF MICHIGAN
             IN THE CIRCUIT COURT FOR THE COUNTY OF OAKLAND
                               BUSINESS COURT

EVELIA M. NARANJO,

                       Plaintiff,                     Case No.:

       v.                                             TRIAL BY 12-PERSON JURY

BELFOR U.S.A., et al.,                                Hon.

                       Defendants.

EVELIA M. NARANJO, Pro Se
3405 S. Union Ave., Apt #IF
Chicago, Illinois 60616
Telephone: (312) 622-8787
eveliasan@fuller.edu

        There has never been any other civil action between these parties arising out of the same
transaction or occurrence as alleged in this complaint pending in this court.

                                     &ae€a 7il,      71a,zaktla
                                     Evelia M. Naranjo, Pro Se


                             COMPLAINT and JURY DEMAND

       Evelia M. Naranjo makes her complaint as follows:

                                     NATURE OF ACTION

1.     This is a fraud case, and possibly a criminal case, of Plaintiff being hired under false

pretenses, misrepresentation and inducement which led to Defendants' unjust enrichment. This

case also involves promissory estoppels, unpaid commissions, taking of trade secrets, breach of

contract, defamation per se and false pretenses with intent to defraud. Additionally, Defendants

retaliated against Plaintiff with discharge in order to avoid proper, due, and promised

compensation to Plaintiff. Defendants are former employers of Plaintiff.



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                          PARTIES, VENUE AND JURISDICTION

Plaintiff:

2.     Evelia M. Naranjo, is a resident of Chicago, Illinois and was employed from July 22,

2019 thru October 26, 2021 at the BELFOR office located in Northbrook, Illinois.

Defendants:

3.     Listed below are the Defendants as individuals and Defendant companies/corporations

with their known respective senior administrators. The following Defendant

companies/corporations are hereafter referred to as BELFOR.

4.     BELFOR-Northbrook is located in Northbrook, Illinois

       a.       Matt Endre is a resident of Illinois and was General Manager of the Northbrook

office prior to December 31, 2020 and when Plaintiff was hired. Endre is Stockholder of

BELFOR-USA. Hereafter referred to as Endre.

       b.       Dale Sailer is a resident of Illinois and was General Manager of the Northbrook

office after January 1, 2021 and when Plaintiff was terminated. When Plaintiff was hired, Sailer

was Regional Manager. Hereafter referred to as Sailer.

5.     BELFOR USA Group Inc. is located in Birmingham, Oakland County, Michigan

       a.       Sheldon Yellen, CEO, Primary Stockholder of BELFOR-USA.

       b.       Michael Yellen, COO, Primary Stockholder of BELFOR-USA. Hereafter referred

to as Yellen.

       c.       Teresa Williams, Government Vice Chairman of Countrywide Sales and Marketing

       d.       Rusty Amarante, Director of Operations

       e.       Loren Easton, Board Member

       f.       Michael Fisch, Board Member



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       g.      David Musicant, Board Member

       h.      Aaron Maeng, Board Member

       i.      David Cripe, Regional Director, resides and works out of the Illinois office. Cripe

is Stockholder of BELFOR-USA. Cripe was Regional Director when Plaintiff was hired and

terminated. Hereafter referred to as Cripe.

       J       Martin Endre, Regional Marketing and Sales Director, resides and works out of

the Northbrook, Illinois office.

       k.      Teresa Franze, Director of Human Resources. Hereafter referred to as Franze.

6.     Claims in this action are made pursuant to the common law and statutes of the State of

Michigan.

7.     Pursuant the Employment Agreement between Plaintiff and BELFOR, Plaintiff presents

her action in the Oakland County Court. Plaintiff was pressured and forced to sign the

Employment Agreement about one (1) month after Plaintiff started employment. The

Employment Agreement contained clauses that were not previously communicated to Plaintiff

which put in question financial promises that had been made to Plaintiff during the interview and

hiring process. In time, Defendants broke those financial promises they had made to Plaintiff

(fraud, fraudulent concealment, promissory estoppels).

8.     The amount in controversy is over $75,000.00 (seventy-five thousand dollars), or over

the minimal jurisdictional amount.

9.     Jurisdiction and venue are proper in Oakland County, as it is where BELFOR USA

headquarters office is located and from where many of the major decisions regarding and

affecting Plaintiff were made.

                                   FACTUAL ALLEGATIONS



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                  Introduction: Fraud for the purpose of Unjust Enrichment

10.     This is a fraud case for the purpose of Unjust Enrichment to the benefit of Defendants,

BELFOR USA and its shareholders and specific employees, and to the detriment of Plaintiff.

Defendants wanted access to Plaintiff's multi-million dollar revenue generating and profit

margin increase capabilities, specifically tied to Plaintiff's insurance/adjuster contacts, for their

own enrichment and did not ever intend to pay Plaintiff for those services. Defendants induced

Plaintiff with false pretenses, false promises, misrepresentations, and fraudulent concealment for

the purpose to defraud Plaintiff and enrich themselves unjustly.

11.     Defendants lured Plaintiff with an appealing offer of a base salary of $75,000/year plus a

4-point guaranteed cumulative commission as Estimator. The 4-point guaranteed cumulative

commission was promised for Plaintiff's roles/assignments as estimator, project manager,

salesperson, and account manager. Defendants led Plaintiff to believe that they would assign

Plaintiff large commercial jobs and accounts and that the commission would be based on a

significant portion of the $6 million plus annual revenue of the Northbrook, IL BELFOR office.

The offer was commensurate to Plaintiff's background as a good estimator who wrote good,

accurate, and thorough estimates which yielded good revenue and profit margins. Therefore,

Plaitnff had reasonable reliance of the promises from the Defendants.

12.     When Plaintiff was interview and hired, Defendants specifically instructed Plaintiff to not

market to her multi-million dollar account insurance/adjuster contacts and thus avoided

Plaintiff's inquiry and inferred request to set a specific percent commission for Plaintiff to

market to her multimillion dollar insurance contacts. Defendants instructed Plaintiff to focus on

writing estimates and that BELFOR would assign her jobs and accounts, that she wouldn't have

to market or go look for jobs/accounts because BELFOR has salespeople who do that.



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13.    BELFOR fraudulently concealed the fact that at the same time that BELFOR was

interviewing and hiring Plaintiff, BELFOR was in the process of putting in a place a $1 billion

dollar sell-off of the company and needed to raise revenue and/or profits in order for the sale to

go thru.

14.    BELFOR needed and sought to acquire Plaintiff's multi-million dollar revenue and profit

generating capabilities in order to execute/commence, fulfill, and/or complete the $1 Billion

dollar sell. Specifically, BELFOR set out to acquire Plaintiffs multimillion dollar revenue

generating capabilities via Plaintiffs marketing and getting jobs from her multi-million dollar

insurance/adjuster contacts. BELFOR did not have any intention to ever pay Plaintiff for her

multi-million dollar generating marketing services for the purpose of effecting the $1 billion

dollar sell, so they defrauded Plaintiff with false pretenses, false promises, misrepresentations

and fraudulent concealment.

15.    After Defendants hired Plaintiff, they tried to force Plaintiff to market to her multimillion

dollar insurance contacts and not pay her for it even though they had specifically told Plaintiff at

hiring that marketing would not be part of her position as Estimator. Defendants retaliated by

reducing Plaintiff's base salary, denied her the opportunity to earn her commission and denied

her the 4-point cumulative commission for her various roles/assignments. Additionally,

Defendants stole Plaintiff's trade secrets of estimate writing that yields good and higher revenue

and profits. Defendants also denied Plaintiff large loss commercial jobs and accounts.

Defendants threatened Plaintiff to fire her if she did not market to her multi-million dollar

contacts. Defendants set-up Plaintiff for failure and blamed her for problems in the office by

twisting facts and distorting half-truths. Finally, Defendants exhibited defamation per se in order

to try to manipulate Plaintiff to market to her multi-million dollar contacts. When Plaintiff



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continued to complain for lack of payment, refused to market to her multi-million dollar

insurance contacts without a written compensation agreement, and complained for the

defamation per se, Defendants used the defamation per se to fire Plaintiff and avoid paying

Plaintiff her due, proper and promised compensation which Plaintiff had been asking for.

16.    Plaintiff complained for lack of payment and for broken promises of financial gain.

Plaintiff refused to market to her multi-million dollar contacts without a specific commission put

in writing and the satisfaction of other requirements to protect Plaintiff from Defendants'

continually diverting commissions away from Plaintiff in order to avoid paying her due, proper

and promised commission. Although, Defendants did manage to force Plaintiff to market on

occasion. Defendants refused to grant Plaintiff a specific commission for her to market to her

multimillion dollar contacts and retaliated further when Defendants used defamation per se as the

excuse to discharge Plaintiff from employment.

17.    Defendants defrauded Plaintiff for the purpose to unjustly enrich themselves to the

detriment of Plaintiff by forcing Plaintiff to market to her multi-million dollar insurance contacts

for the ultimate purpose for Plaintiff to execute/commence, fulfill and/or complete the $1 billion

dollar sell-off of BELFOR and not pay Plaintiff for her service in effecting the sell-off.

18.    Defendants willingly, knowingly and purposely defrauded Plaintiff for the purpose of

their own unjust enrichment to the detriment of Plaintiff. Defendants lured and hired Plaintiff as

an Estimator with an appealing compensation which would include a guaranteed cumulative 4-

point commission and specifically instructed Plaintiff to not market as that would not be her

responsibility. However, Defendants' true intentions were to force Plaintiff to market to her

multi-million dollar insurance contacts and not pay her for marketing. Defendants denied




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Plaintiff payment and the promised financial gain and commission and tried to force Plaintiff to

market without payment.

19.     Had Defendants not fraudulently concealed their true motives, Plaintiff would have

negotiated a deal with a specific compensation and commission commensurate with the tasks

required or desired by BELFOR that would have benefitted all parties. Instead, BELFOR

unjustly enriched themselves to the detriment of Plaintiff via fraudulent, unethical, unlawful, and

even possibly criminal actions against Plaintiff.

20.    BELFOR made Plaintiff a beneficiary to the $1 billion dollars due to their fraudulent

concealment and the fraud, including but not limited to, false pretenses, broken promises,

inducements, misrepresentation, breach of contract, fraudulent, unethical, unlawful, and possibly

even criminal acts they exhibited against Plaintiff in order to force her to help them

execute/commence, fulfill, and/or complete the $1 billion dollar sell. Therefore, Plaintiff claims

damages and seeks relief pertinent to the $1 billion dollars and to the other damages related to

the unjust enrichment based on the fraudulent concealment and the promise that Defendants

made to Plaintiff for financial gain, specifically but not limited to BELFOR's promise to Plaintiff

of the guaranteed, cumulative 4-point commission for her roles/assignments as estimator, project

manager, salesperson, and account manager, among other promises that BELFOR made to

Plaintiff regarding financial gain.

21.     To summarize Defendants' fraud in how Defendants avoided paying Plaintiff her

guaranteed cumulative 4-point commission for their and BELFOR's unjust enrichment to the

detriment of Plaintiff, as detailed throughout this Complaint: 1) Defendants lured Plaintiff to

work for BELFOR by promising her an appealing compensation that would include a guaranteed

cumulative 4-point commission if the minimum revenue was met in order to effect the awarding



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of the commission, 2) Defendants would not assign Plaintiff enough revenue to meet the

minimum revenue needed to award Plaintiff the guaranteed cumulative 4-point commission, thus

Defendants prevented Plaintiff from earning the commission, 3) Defendants prevented Plaintiff

from earning the commission by assigning non-estimators into the estimator role instead of

assigning Plaintiff, an Estimator, into the estimator role, 4) non-estimators, such as Project

Managers, who are assigned as estimators on jobs, instead of Plaintiff being assigned as an

estimator on the jobs, do not have a guaranteed commission for the role of estimator that an

Estimator has, therefore, the Project Manager does not get a guaranteed commission for the role

of estimator, 5) by assigning a non-estimator, such as a Project Manager, to the role of estimator

on a job, Defendants avoid paying commission altogether, no commission to the Estimator and

no commission to the Project Manager, 6) thus, Defendants divert the guaranteed cumulative 4-

point commission away from the Estimator, that is Plaintiff, and onto BELFOR for BELFOR's

and Defendants' unjust enrichment to the detriment of Plaintiff. Additionally, the commission

table for the Estimator is written vaguely and is interpreted at Defendants' whim and re-

interpreted to deny the 4-point commission.

22.    This fraudulent scheme to avoid paying commission to the Estimators by diverting the

commission away from the Estimators and onto Defendants' pockets is a systemic fraudulent

scheme that is practiced against other Estimators, in addition to Plaintiff. Similarly and in

reverse, a similar fraudulent scheme is practiced against Sales Person by forcing Estimators and

Project Mangers to market. By forcing Estimators, such as Plaintiff, to market and not pay

Plaintiff commission to market is a way for Defendants to avoid paying sales and marketing

commission to Sales Persons and thus divert sales commission away from Sales Persons and

onto Defendants' pockets. By swapping assignments, such as but not limited to assigning Project



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Managers as estimators and by forcing Estimators to market, is a way for Defendants to avoid

paying promised, due and proper guaranteed cumulative 4-point commissions to all their

employees and divert those commissions onto themselves for the unjust enrichment of the

Defendants to the detriment of Plaintiff and other employees.

         Plaintiff's Multi-Million Dollar Revenue and Profit Generating Capabilities

23.     Plaintiff has multiple capabilities that can generate revenue and profit for a restoration

company, such as BELFOR. Plaintiff obtained these capabilities through many years of working

in the insurance consulting and restoration industries. Plaintiff's multi-million dollar revenue

and profit generating capabilities include but are not limited to the following.

        a.      Insurance Contacts with Multi-Million Dollar Accounts: As an insurance

consultant for many years, Plaintiff consulted insurance representatives such as adjusters, on

multiple multi-million dollar jobs with multi-million dollar restoration costs ranging from $2

million to $19 million dollars per loss, specifically commercial buildings. The type of multi-

million dollar losses that Plaintiff consulted on included but were not limited to damages from

fire, water, and hurricane. Plaintiff has contacts in the insurance and business sector (insured)

who have multi-million dollar accounts. Meaning, if these contacts have a loss, their loss and

restoration costs could be in the millions of dollars per loss. It is extremely difficult to find a

person with such contacts and such a person is highly valuable among restoration companies as

such a person, as Plaintiff, has the capabilities to generate millions of dollars for the restoration

company, such as BELFOR. Large loss restoration jobs can generate between 35% to 75% profit

margins. As an example, in a $5 million dollar restoration job that takes 2 months to complete, a

restoration company may make a profit between $1.75 to $3.75 million dollars. A $3.75 million

dollar profit made in two months is the type of reason why people are in the restoration business.



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       b.      Writing Xactimate Estimates: Plaintiff has advanced training and practice is

writing estimates in Xactimate program. The Xactimate estimates are used in the insurance and

restoration industries as invoices and proposals/bids and are used as contracts for work that was

performed and/or work to be performed. To be a good Xactimate estimate writer and to write

clean, thorough and accurate Xactimate estimates that produce a good margin of profit, a person

must be knowledgeable in the technical aspects of the restoration and building industry and in

the technical aspects of the Xactimate program. Plaintiff has knowledge of both and is a very

good Xactimate estimate writer. It is extremely difficult to find a person who has good working

knowledge of both and who is a good Xactimate estimate writer. Plaintiff's good Xactimate

estimate writing skills produce good profit margins and increased revenue for restoration

companies. Plaintiff's good Xactimate estimate writing skills can help increase the revenue and

margin of profit in estimates, that is invoices, of restoration companies, such as BELFOR, by

approximately in the range of 10% to 33%--due to shortage of good Xactimate estimate writers

in the industry. Plaintiff's good Xactimate estimate writing skills are highly sought after as they

are difficult to find and are profitable for a restoration company. As an example, with Plaintiff's

good, that is, thorough and accurate, Xactimate estimate writing skills applied to $10 million

dollars of estimates, a restoration company such as BELFOR can increase their revenue/profit

margin by about $1 million to $3.3 million dollars simply by writing good, thorough and

accurate, Xactimate estimates.

       c.      Administration and Trade Secrets: Plaintiff has background in administration

and management including, but not limited to, restoration projects in the multi-million dollar

range per loss. Plaintiff also has teaching background and has the capabilities to lead a team into

a successful completion of a multi-million dollar project. Such skills are also difficult to find



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and also highly sought after by restoration companies. Plaintiff's skills are highly sought after by

restoration companies for the purpose of managing large losses and projects but also for the

purpose of teaching and transferring Plaintiff's skills to other employees in order to multiply

within the company the variety of revenue and profit generating capabilities of Plaintiff,

including but not limited to writing good Xactimate estimates which Plaintiff considers as part of

her trade secrets. At hiring, Plaintiff told Endre in writing via a text message that her good

estimate wring skills are her trade secrets.

                           Buying and Selling a Restoration Company

24.     When buying and selling a restoration company, the two parties typically have a trial

period when requirements set by the buying company are to be fulfilled by the selling company.

Requirements typically include but are not limited to a target minimum for revenue and/or profit

or profit margin. Meaning, the selling company has to show a particular revenue or profit within

a specified time after the contract has been executed or commenced in order for the contract to

be fulfilled and completed. If the target minimum is not met by the selling company, then the

contract is made void and no sell-buy occurs.

25.     With regards to BELFOR in this case, on June 10, 2019 a public announcement was

made that BELFOR had been sold for $1 billion dollars. What was not publicly disclosed is that

BELFOR was given two years, until June 30, 2021, to show a specified minimum revenue and/or

profit or profit margin in order for the contact to be fulfilled and completed. If BELFOR failed in

meeting the minimum targets as required, then the deal was off and no sell-buy would occur.

Concurrently, BELFOR interviewed plaintiff on June 6, 2019 for employment and BELFOR set

in place the fraudulent activity against Plaintiff for their own unjust enrichment pertinent to and

around the same time that the $ 1 billion dollar sell-buy deal was being put in place. BELFOR



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failed in meeting the minimum requirements and was given a one-year extension, until June 30,

2022 to fulfill the minimum requirements of the revenue and profit/margin targets.

26.      Plaintiff became aware of these buy-sell requirements, lack of fulfillment, and extension

of the trial period around the time that BELFOR fired Plaintiff, which was October 26, 2021.

Plaintiff was first interviewed for employment on June 6, 2019, four days prior to the public

announcement of the $1 billion dollar sell, and eventually was hired by BELFOR shareholders

who were and are set to gain a percentage of the $1 billion dollar sell.

27.     Plaintiff alleges that the fraud and torts, as detailed in this Complaint, that BELFOR

shareholders and employee exhibited against Plaintiff were made against Plaintiff for the primary

purpose of forcing Plaintiff, without pay, to help execute/commence, fulfill and/or complete the

$1 billion dollar sell.

                          Thematic and Chronological Sequence of Events

Introduction

28.     BELFOR shareholders and employees, starting from the interview and hiring process thru

employment and up to the termination of Plaintiff's employment, exhibited various dishonest,

unethical, fraudulent, deceptive, unlawful, and even possibly criminal practices against Plaintiff,

including but not limited to misrepresentation, hired under false pretenses, inducement, fraud in

the inducement of a contract, broke promises (promissory estoppels), detrimental reliance, false

pretenses with intent to defraud (penal code 750.218 (7)(a)), nepotism (MCL 15.342),

defamation Per Se (MCL 600.2911), breach of contract (MCL 600.5807), retaliation, retaliatory

discharge to avoid payment (common law; MCL 408.483; FSLA), spread contempt and boycott,

coercion (MCL 750.462a; 42 U.S. Code 3617), intimidation and threats (42 U.S. Code 3617),

work without pay, forced labor (MCL 750.462a; 18 U.S. Code 1589; 42 U.S. Code 3617; 42 U.S.



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Code 12203), unpaid commission (MCL 600.2961), tried to force Plaintiff to break the law by

trying to force Plaintiff to commit fraud and unjust enrichment to the detriment of self/Plaintiff

and of others, fraudulent concealment (MCL 600.5855), taking of trade secrets, and give false

hope to Plaintiff of things getting better in order to induce Plaintiff to not file legal action. These

were exhibited in order to force Plaintiff to work without proper, due and promised

compensation for the unjust enrichment of BELOR to the detriment of Plaintiff.

29.     The ultimate purpose of the fraud and torts and Unjust Enrichment against Plaintiff were

to force Plaintiff to generate revenue and profit in order for Plaintiff to help execute/commence,

fulfill, and/or complete the $1 billion dollar sell-off of BELFOR without paying Plaintiff her due,

proper, and promised compensation.

30.     The following events are detailed in a thematic and chronological sequence.

Employment Interview, Offer, and Hiring

31.     Around April of 2019, Plaintiff asked Hope Folk, a specialist in mergers and acquisitions

for Restoration Personnel Services (RPS), to assist Plaintiff find employment. Folk in the

following weeks connected Plaintiff to various restoration companies and Plaintiff obtained

various job offers, including to/from BELFOR.

32.     On June 6, 2019, Plaintiff had a phone interview with Matt Endre. The following was

discussed, including but not limited to:

        a.      Endre asked Plaintiff about her Xactimate writing skills and profit margin

percents. Plaintiff responded that for repairs her profit margin range was low 40s to mid 50s and

for mitigation from 50s to 70s, for an average of mid 40s to low 50s, approx.;

        b.      Endre was aware of Plaintiff's background and past experience as consultant for

insurance/adjusters on multi-million dollar jobs and asked Plaintiff about her experience with



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commercial jobs and her contacts with the insurance companies and adjusters. Plaintiff

communicated to Endre that she still keeps in touch with some adjusters who she worked with

and who were very pleased with Plaintiff's work product and consult on their multi-million

dollar losses and restoration projects, specifically commercial buildings. Plaintiff clarified that

she does not have a book of business, thus business from her insurance contacts is not

guaranteed;

        c.      Endre said to Plaintiff that he wanted to continue the interview process in-person.

33.     On June 17, 2019, Plaintiff met with Endre at his BELFOR office located in Northbrook,

Illinois. The following was discussed, including but not limited to:

        a.      Endre stated that the Estimator position includes a base salary plus a guaranteed

commission if the minimum revenue for calculating the commission is met;

        b.      Endre stated that the commission is a 4-point commission, that the Estimator gets

points/credits for commission in addition to her estimator role/assignment, the other three

roles/assignments are for project manager, salesperson, and account manager;

        c.      Plaintiff asked what is the total 4-point commission. Endre did not answer

specifically and stated that it varies job to job because the Estimator may not always be written

into a job for all four assignments.

        d.      Endre led Plaintiff to believe that the commission percentage would increase as

the Estimator was credited with more assignments based on the 4-point commission system.

Meaning, the more times that the Estimator's name appears on the job's assignments, then the

more points/credits will be earned for the purpose of calculating the commission for that job.

        e.      Endre stated that the Northbrook office makes about $6 million a year in revenue

and led Plaintiff to believe that her commissions would be based on such high revenues.



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        f.     Plaintiff asked for $75,000 as base salary, Endre agreed;

       g-      Endre stated that he as General Manager is the one who assigns the leads/jobs to

the Estimators, thus he is the one who assigns the revenue to the Estimators, the revenue that is

used to calculate the guaranteed commission;

       h.      Plaintiff brought up the subject of her marketing to her multi-million dollar

account insurance/adjuster contacts for the purpose of negotiating a specific marketing percent

commission for that specific task. Endre responded that he does not want Plaintiff to market to

her multi-million dollar contacts, that BELFOR has sales and marketing people who are

responsible for that. Endre said that he wanted Plaintiff to concentrate on writing Xactimate

estimates.

       i.      In a text message around the time of this interview meeting, Plaintiff stated that

her Xactimate estimate writing is a trade secret.

       J       Plaintiff was not aware at the time, but in retrospect, Plaintiff recognizes this

meeting on June 17, 2019, as the start of many unethical, fraudulent and even criminal actions

against Plaintiff for the purpose of unjust enrichment to the detriment of Plaintiff.

34.    On June 27, 2019, Endre made a verbal offer over the phone to Plaintiff and asked her to

meet him at his BELFOR Northbrook, IL office to discuss further.

35.    On July 3, 2019, Plaintiff met with Endre at the BELFOR Northbrook, IL office and Dale

Sailer joined the meeting as a participant and a witness. At the time, Sailer was Regional

Manager, while Endre was the General Manager of the Northbrook office. The following was

discussed, including but not limited to:

       a.      Endre told Plaintiff that he was not allowed to offer Plaintiff a base salary of

$75,000/year. The Estimator position has a base salary of $60,000/year and to compensate the



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difference, he/BELFOR would give Plaintiff a commission advance of $15,000/year. Endre

assured Plaintiff that the $75,000/year base/minimum would be secured throughout her

employment and Endre shook hand with Plaintiff at that promise with Sailer as a witness;

        b.      The 4-point commission system was not mentioned, therefore, Endre did not

retract the 4-point commission system and Plaintiff continued in her understating as previously

led to believe by Endre that her commission percentage would increase based on the 4-point

commission system;

        c.      Plaintiff again brought up the subject of marketing to her multi-million dollar

insurance/adjuster contacts and Endre again, this time with Sailer as witness, instructed Plaintiff

that she would not be doing marketing to her insurance contacts.

        d.     At the end of the meeting, Plaintiff accepted the offer and told Endre that she was

looking for long-term opportunities at BELFOR, meaning she wanted to be at BELFOR for

many years and retire from BELFOR. Endre concurred that the offer was for such a long-term.

Plaintiff took Endre's concurrence as a promise.

        e.      Plaintiff was not aware at the time, but in retrospect, Plaintiff recognizes this

meeting on July 3, 2019, as the continuation of many unethical, fraudulent and even possibly

criminal actions against Plaintiff for the purpose of unjust enrichment to the detriment of

Plaintiff. This time, Sailer was actively participating in the coordinated efforts against Plaintiff.

Later, Cripe would join them in the coordinated efforts against Plaintiff. Later in time, these

individuals broke their promises and assurances which they had used to lure Plaintiff to work for

BELFOR and to sign the Employment Agreement while at the same time intimidated and

threatened Plaintiff to do marketing to her mufti-million dollar insurance contacts without pay in

order to raise revenue.



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36.    On July 8, 2019, BELFOR emailed Plaintiff a one-page offer letter that broke down the

$75,000/year base/minimum salary as $60,000 as base and $15,000 as advance commission. The

letter had in small print that further details of the salary and commission are included in the

Employment Agreement of which she did not receive a copy and which she was pressured and

forced to sign one month after her employment began.

37.    Throughout the interview, offer, and hiring process, Plaintiff communicated with Folk.

Plaintiff informed Folk of BELFOR's offer of $75,000 base/minimum salary, the 4-point

commission system, and the long-term employment promise from Endre.

38.    Plaintiff was interviewing with other restoration companies and had other offers besides

the offer from BELFOR.

39.    Plaintiff alleges that BELFOR made an appealing offer with misrepresentations and false

promises in order to induce Plaintiff to work for BELFOR and not accept offers from the other

restoration companies.

BELFOR Announces Si Billion Dollar Sell

40.    On June 10, 2019, four (4) days after Plaintiff's first interview with Endre, the public

announcement was made that BELFOR sold for $1 billion dollars. At the time that Plaintiff was

being interviewed and hired, the BELFOR shareholders and employees who were interviewing

and hiring Plaintiff did not make Plaintiff aware of the pending or executed sell.

41.    Plaintiff was fired, Retaliatory Discharge, on October 26, 2021. Around that time,

Plaintiff became aware of the sell requirements, as follows:

       a.      The buying company gave BELFOR two years to show a specific revenue and/or

profit minimum, from July 1, 2019 thru June 30, 2021.




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          b.     By June 30, 2021, BELFOR had not met the minimum revenue/profit

requirements.

          c.     The buying company gave BELFOR a one-year extension to show the required

minimum revenue/profit, thru June 30, 2022.

42.       Plaintiff alleges that the coordinated efforts of various individuals, including

shareholders, at BELFOR to exhibit unethical, fraudulent, unlawful and possibly even criminal

acts against Plaintiff were for the purpose of unjust enrichment to the detriment of Plaintiff for

the ultimate purpose of forcing Plaintiff, without pay, to help execute/commence, fulfill and/or

complete the $1 billion dollar sell of BELFOR.

Job Assignments, Employment Agreement, Contempt, Hostility, Set-up for Failure,

Retaliation, Trade Secrets, Estimator Profit Margin, Diverted Commission, Marketing

Job Assignments

43.       July 22, 2019 was Plaintiff's first day of employment at BELFOR's Northbrook, IL

office.

44.       Endre was assigning low-revenue residential leads/jobs to Plaintiff and was listing

Plaintiff in multiple assignments for those jobs, such as the assignments of estimator, project

manager, salesperson, lead generator, and account manager. Due to the multiple assignment

roles, Plaintiff was under the impression that per the 4-point commission system her commission

percent would increase. Endre was also assigning Plaintiff to commercial jobs with the potential

of high revenue; Plaintiff was under the impression that Plaintiff would be getting more high-

revenue commercial jobs. Initially, things looked hopeful and somewhat consistent to Endre's

promises and assurances as per the conversations during the interview and hiring process.

Employment Agreement



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45.    On August 15, 2019, about a month after Plaintiff started employment, Cripe, a BELFOR

shareholder and Regional Manager, visited the Northbrook, IL office to have Plaintiff sign the

Employment Agreement which she had not seen before.

       a.      Endre handed the Employment Agreement to Plaintiff. Plaintiff was rushed and

pressured to sign right away. Plaintiff signed under pressure without reading.

       b.      After reading the agreement that evening, Plaintiff noticed a clause that would

allow BELFOR to reduce Plaintiff's base salary, that is, reduce, remove or pay-back the $15,000/

year advanced commission that had been promised to Plaintiff by Endre in order to pay Plaintiff

$75,000/year as base/minimum as promised by Endre during the interview and hiring process.

       c.      Plaintiff immediately that evening emailed Endre and after a few email exchanges

between Endre, Plaintiff and Cripe, Endre via email assured Plaintiff that Plaintiff's advanced

commission of $15,000/year would not be reduced or removed, that is, Plaintiff would not be

required to pay-back the advanced commission.

       d.      The Employment Agreement contained the one-page document of BELFOR

Estimator Commission Program. The commission page states that all other assignment fields,

apart from the estimator assignment field, will be used for discretionary bonus consideration. At

first glance, that statement did not seem to contradict the 4-point commission program that Endre

offered Plaintiff during the interview and hiring process. Sailer in 2020 and Franze in 2021

confirmed to Plaintiff that Plaintiff could concurrently earn commission for both, for the

estimator assignment and for the salesperson assignment.

       e.      To be clear, the BELFOR Estimator Commission Program page does not

explicitly deny or contradict the 4-point commission system, it allows it.



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        f.      Plaintiff alleges that the BELFOR Estimator Commission Program page is vague

and not defined consistently and that it is defined at whim, paired with misrepresentation and

fraud, in order to produce desired results such as unjust enrichment for BELFOR and forced

work without pay under the guise and protection of a signed contract, for the benefit of BELFOR

and to the detriment of Plaintiff or employees.

        g-      Plaintiff alleges that the reason BELFOR waited a month after Plaintiff started her

employment to present Plaintiff with the Employment Agreement and pressured her to sign right

away was to pressure her and force her to accept yet another possible reduction to her

compensation by sneaking in clauses at the last minute and thus eventually breach their fiduciary

promises to Plaintiff as offered during the interview and hiring process.

Contempt, Hostility, Set-up Plaintiff for Failure, Retaliation, Trade Secrets

46.     Regarding public contempt, hostility and setting-up Plaintiff for failure, Endre and Sailer

exhibited several of these efforts starting in the fall of 2019, which was shortly after Endre and

Cripe forced Plaintiff to sign the Employment Agreement. Following are two examples; this is

not a complete list.

47.     During the hiring process, Plaintiff had communicated to Endre that she/Plaintiff had

never served on-call to receive emergency calls after-hours. In the fall of 2019, during one of the

days that Plaintiff was on-call. Plaintiff received a call late at night about a tree that had fallen on

a house, it was raining. Plaintiff spoke with the Project Manager on-call and also with Endre to

find out how they wanted to address the situation with the homeowner. Plaintiff was new to

BELFOR and new to on-call responsibilities and was seeking direction. Days later, Plaintiff

overhead Endre tell the administrative assistant, in a voice loud enough for others in the office to

hear, that based on that incident Plaintiff didn't know what she was doing, that Plaintiff was not



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what he had expected. Endre circulated this to others, including his brother Martin Endre,

Regional Director of Sales and Marketing, who months later reiterated Endre's' misrepresented

and half-truth accusation alluding that Plaintiff was not trustworthy.

48.    Another example, Plaintiff sought Endre's recommendation for a wood floor specialist to

assess and possibly repair/replace an exotic wood floor for a client. Endre told Plaintiff to call

Yonan Flooring. Plaintiff contacted Yonan and hired Yonan to repair part of the flooring per

Yonan's scope recommendation. The repair was a disaster and was not performed according to

Yonan's own scope and proposal. Plaintiff asked Yonan to fix their mistakes. Yonan refused.

Months later, Sailer as the General Manager got involved and settled the disagreement by asking

Yonan to accept as payment half the contact amount, $2,000 instead of $4,000, approximately.

Shortly after, Sailer referenced this disagreement and used it to accuse Plaintiff of putting in

jeopardy BELFOR's long-standing relationship with Yonan. The contract difference in dispute

was for about $2,000. Shortly after that accusation, Plaintiff found out that Yonan had made a

$100,000 mistake on another BELFOR job for Endre and was forced to pay for it. Plaintiff was

informed that it was that $100,000 mistake from Yonan on a job for Endre that soured Yonan's

relationship with BELFOR, not Plaintiff's little $2,000 payment difference. Sailer, like Endre,

and in an effort to divert blame away from Endre and onto Plaintiff for the soured relationship

with Yonan, misrepresented Plaintiff with half-truths and twisting of facts in order to make

Plaintiff look professionally untrustworthy. Also, after the Yonan unprofessional work

performed for Plaintiff on the exotic wood floor, Plaintiff inquired and two other employees at

the Northbrook office advised Plaintiff to never hire Yonan for anything other than carpet

because Yonan does not have qualified workers for other flooring such as exotic wood floor, and

that everyone knows that. Plaintiff alleges that Endre and Sailer set-up Plaintiff for failure and to



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take the blame for the soured relationship with Yonan when Endre instructed Plaintiff to hire

Yonan for the exotic wood floor and when Sailer blamed Plaintiff for putting the relationship

with Yonan in jeopardy.

49.    Plaintiff alleges that Endre, Sailer, and Martin Endre portrayed Plaintiff in a negative

light in order to try to justify diverting high revenue jobs away from Plaintiff and on to

themselves and BELFOR, thus divert promised and guaranteed commissions away from Plaintiff

and not allow Plaintiff to earn her guaranteed cumulative 4-point commission.

50.    Additionally, after Endre and Sailer had been using contempt and hostility to divert

commission away from Plaintiff, Plaintiff further alleges that they used those actions to try to

force Plaintiff to market to her multi-million dollar account insurance/adjuster contacts.

51.    After Plaintiff refused to market to her multi-million dollar insurance contacts without a

specific written agreement, Endre and Sailer retaliated against Plaintiff by assigning Luis Lopez,

a Project Manager, in the role of estimator to further divert commission away from Plaintiff and

unto BELFOR's pocket. Additionally, Endre had previously forced Plaintiff to share her trade

secret estimates with Lopez and now Lopez was being assigned as estimator instead of Plaintiff.

Estimator Profit Margin

52.    When Endre interviewed and hired Plaintiff, Endre instructed Plaintiff to focus on writing

estimates, specifically, on Xactimate program. At the same time, Endre instructed Plaintiff that

Plaintiff would not be doing marketing to her million dollar insurance contacts.

53.    Plaintiff's good Xactimate writing skills fulfilled and surpassed Endre's expectations.

For the year 2020, Plaintiff had the highest profit marking in the Northbrook office and the

second highest profit margin for the region, at approximately 48% combined (to be verified).




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54.    In conversations with Sailer regarding Plaintiff's good/high margins, Sailer minimized

Plaintiff's accomplishments by saying that more important than profit margin is raising revenue

via marketing. Sailer said this to Plaintiff several times at various conversations and also said it

at office staff meetings. Good estimates raise revenue, but Sailer was referring specifically to

marketing. In retrospect, Plaintiff perceived Sailer's downgrade of Plaintiff raising profit

margins as part of his effort to manipulate and force Plaintiff to do marketing to her multi-

million dollar contacts.

55.    The 2020 year saw lower revenue than usual, but the Northbrook office was able to

generate a profit and not lose money partly due to the office's increased profit margin compared

to previous years. Sailer admitted to the office staff at a meeting that the profit margin helped

put the office in the positive revenue and avoid negative revenue. Yet, Sailer refused to credit

Plaintiff for her good/high profit margin.

Diverted Commission, Marketing

56.    The Employment Agreement includes the commission scale which guarantees the

Estimator the estimator commission if the minimum revenue is met. That scale also indicates

that the minimum revenue is not a quota; it's a minimum revenue only for the purpose of

allocating the guaranteed commission to the Estimator. Meaning, the Estimator does not have to

market or generate work, BELFOR with its Sales and Marketing people generate the work. The

General Manager assigns the jobs as they come in, thus the revenue that guarantees the estimator

commission to the Estimator is assigned by the General Manager. If the minimum revenue is not

met, then the Estimator does not get the guaranteed estimator commission. Therefore, for the

Estimator to get the estimator guaranteed commission is dependent on the General Manager's

lead/job assignments. Also, the Employment Agreement is open to the 4-point commission



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system; it does not specifically deny the 4-point commission system. Plaintiff was promised the

4-pointt commission system upon hiring and confirmed on at least two separate occasions by

Sailer and Franze, the Human Resources director.

57.    Both General Managers, first Endre then Sailer, diverted estimator commission away

from Plaintiff by assigning non-Estimators such as Endre, Martin Endre, and Lopez as estimators

instead of assigning Plaintiff as estimator, specifically on high revenue commercial jobs. By

doing so, BELFOR avoided paying commission to the Estimator, which is Plaintiff. Also, by not

paying Plaintiff her commission BELFOR was able to raise the profit for itself, BELFOR.

Plaintiff alleges that the diverting of commission away from the Estimators is for the ultimate

purpose of raising profit for BELFOR and its shareholders.

58.    For the first three semesters, Endre did not give Plaintiff enough leads/jobs for Plaintiff to

meet the minimum revenue to effect the awarding of commission. At the fourth semester, Sailer

did assign Plaintiff enough revenue but Sailer also reduced Plaintiff's advanced commission. The

end result is that the reduction was greater than the increase, so the total compensation for

Plaintiff was lower than previous semesters, thus Plaintiff actually had a decrease in salary/

compensation which was less than $75,000/year. Endre had promised to Plaintiff in writing via

an email that her $75,000 base/minimum would not be decreased and Sailer had witnessed the

hand-shake of that promise. Additionally, the Employment Agreement in section 7b states that,

"This Agreement may not be modified unless in writing, signed by both parties." Plaintiff never

agreed to the reduction in advanced commission, Plaintiff verbally and in writing opposed the

reduction of the advanced commission. Yet, BELFOR, without Plaintiff's consent or signature,

reduced Plaintiff's advance commission which is guaranteed to her in the Employment Agreement

per section 4b.



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59.    In the spring of 2020 (to be verified), Sailer made a comment at an office staff meeting of

the importance of marketing to insurance/adjuster contacts for the purpose of generating revenue.

This was the first of many instances and with more severity at later times where Sailer would try

to manipulate, force and eventually threaten and direct defamation per se at Plaintiff in an effort

to make Plaintiff do marketing to Plaintiff's multimillion dollar insurance/adjuster contacts and

for Plaintiff to not get any commission/percentage for marketing.

60.    In the spring of 2020, Endre held a phone conference with the staff to instruct them to

market for COVID-19 cleaning jobs. Endre had made Martin Endre as the only person running

the COVID-19 cleaning jobs. Endre asked everyone in the office to market. However, Endre

directed the conversation directly and firstly to Plaintiff, to ask her what she was long to market.

Plaintiff responded in the witness of the other attendees by saying that he/Endre hired her as

Estimator and that he/Endre had specifically instructed Plaintiff to not market when he/Endre

hired her. Additionally, in the course of that conference call and following a few questions for

clarification by the Estimators, Endre confirmed that he wanted Plaintiff and the others to market

but that Martin Endre would be listed as estimator on those jobs brought in by the Estimators. In

other words, Endre wanted Plaintiff, an Estimator, to market to her multimillion dollar insurance/

adjuster contacts to get jobs for which Martin Endre, a sales person and director of marketing,

would be the estimator and not Plaintiff and Plaintiff would not be earning any commission/

percentage for either estimating or sales/marketing.

61.    In the summer of 2021, Plaintiff found out that the BELFOR office in Lisle, Illinois also

diverts commission away from the Estimators by assigning the Project Mangers as the

estimators, specifically on high revenue commercial jobs.




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62.     Additionally, subsequent to the 2020 tornado catastrophe in Cedar Rapids, Iowa, Plaintiff

was asked if she could volunteer as an Estimator; Plaintiff was told that volunteering would look

good and open doors for her at BELFOR. When Plaintiff arrived in Cedar Rapids, she was not

assigned to a job as an Estimator. Instead, Plaintiff was asked to do marketing, meaning go out

and look for jobs and try to get work. Specifically, BELFOR asked Plaintiff to reach out to her

adjuster/insurance contacts. Plaintiff went out to look for work for BELFOR. In retrospect,

Plaintiff alleges she was lured to go to Cedar Rapids for the sole purpose of making Plaintiff

reach out to her adjuster/insurance contacts in order to market and get high revenue commercial

insurance jobs and not pay Plaintiff for marketing.

63.     In 2021, Sailer assigned Plaintiff to a few leads for Plaintiff to submit bids, that is,

compete with other major restoration companies. Presenting bids is doing sales but it is also

doing marketing. Additionally, it is difficult for BELFOR to compete this way with other

restoration companies as BELFOR's costs are typically higher than that of the competitors.

Sailer was forcing Plaintiff to do marketing and also setting her up for failure. Plaintiff did

submit a few bids that summer, some smaller ones were won and some were pending awarding

when Sailer fired Plaintiff. Plaintiff alleges that Sailer was giving Plaintiff big jobs to bid on as a

way to give her hope that things were improving following Plaintiff's complaint of diverted

commission. Plaintiff alleges that Sailer was giving Plaintiff false hope in order to prevent

Plaintiff from filing a legal complaint, that is, a lawsuit. In actuality, Sailer was setting up

Plaintiff for failure and forcing her to do marketing in difficult markets as it is very difficult to

win a competitive bid due to BELFOR's high production costs and requirements to meet a

minimum profit margin. Sailer was assigning the secure high revenue commercial jobs and

accounts to Lopez instead of Plaintiff thereby avoided paying Plaintiff the guaranteed



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commission and possibly avoiding paying employees commission altogether as Sailer was

possibly also not paying Lopez, a Project Manager, any commission (to be verified) for his role

as estimator.

64.    Additionally, regarding winning jobs and bids, others in the office, including Lopez,

would defraud the BELFOR subcontractor in order to decrease the cost of producing the job

which would increase the profit margin for BELFOR. Others in the office, including Lopez,

Endre, Martin Endre, and others, would defraud the BELFOR subcontractor in order to either

increase the profit margin of the job or to lower the bid/proposal to the client in order to convince/

lure the client to award the job to BELFOR. BELFOR pressured Plaintiff to do the same, but

Plaintiff would refuse to defraud the subcontractor for either purpose.

65.    Of the approximately $6 million dollars per year revenue of the Northbrook office,

Plaintiff would not get any commission despite having been promised the 4poiont commission

system. On the contrary, Plaintiffs promised $75,000/year minimum/base decreased just before

BELFOR fired Plaintiff. Endre, Sailer, and Cripe made financial misrepresentations for the

purpose of their own and BELFOR'S unjust enrichment to the detriment of Plaintiff.

Sailer as General Manager of BELFOR-Northbrook, Initial Complaint to Human

Resources, Threat to Discharge Plaintiff for Lack of Marketing

66.     On January 1, 2021, Sailer began his new role as General Manager of the Northbrook, IL

BELFOR office. As the new GM, Sailer was now Plaintiff's supervisor and the person who

assigned leads/jobs, that is revenue to the Estimators. The office practice is for the GM to meet

with every Estimator individually every two weeks to go over the status of the Estimator's jobs,

called the JIP meetings. JIP is the acronym for jobs in progress.




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67.    Early in 2021, during a JIP meeting, Plaintiff asked Sailer if Sailer was going to assign

Lopez as estimator on jobs, as Endre had done. Sailer said no.

68.    Two weeks later, at a subsequent JIP meeting, Sailer told Plaintiff that he would be

assigning Lopez as estimator as he/Sailer deemed appropriate. Sailer also told Plaintiff that

he/Sailer would be reducing Plaintiff's advanced commission. The $15,000/year advanced

commission had been used to supplement Plaintiffs base salary of $60,000 in order to meet the

amount that Endre had agreed to pay Plaintiff as her base/minimum salary when Endre hired

Plaintiff. Sailer was present and was a witness to when Endre and Plaintiff shook hands at

Endre's promise for the advanced commission to guarantee Plaintiff's base/minimum of $75,000/

year. Plaintiff has an email from Endre, after Plaintiff started employment, where Endre reassured

Plaintiff that her advanced commission would not be getting reduced by assuring Plaintiff that she

would not have to pay back an advanced commission. Sailer, who was a witness and participant to

the promise with the hand-shake on July 3, 2019, was now reducing the advanced commission

and thus reducing Plaintiffs compensation, which was a breach to the promise and a breach to the

Employment Agreement.

69.    Reduction of the advanced commission, diverted commission and Lopez as estimator

prompted Plaintiff to submit a complaint to Teresa France, Directory of Human Resources,

David Cripe, Regional Director and Shareholder, and the three primary owners/shareholders and

administrators for BELFOR, Teresa Williams, Michael Yellen, and Sheldon Yellen, to request

their assistance and intervention. In the following days and weeks, the following was addressed

between the three, Sailer, Franze and Plaintiff via Skype meetings. On occasion, Franze and

Plaintiff spoke on the phone.




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        a.      Plaintiff explained to Franze that the advanced commission cannot be reduced per

verbal and written assurances from Endre and per Employment Agreement. Plaintiff also

explained to Franze how Endre and now also Sailer diverted and will continue to divert

commission away from Plaintiff. Also, Plaintiff explained to Franze that Plaintiff is not to do any

marketing, specifically to her multimillion dollar account insurance/adjuster contacts per initial

instructions from Endre at hiring and per the Employment Agreement. Employment Agreement

specifically states that the minimum revenue to effect the commission is not a quota, which

confirms that Plaintiff does not have to market.

        b.      On all subjects of Plaintiffs complaint, reduced advanced commission, diverted

commission that denied Plaintiff from earning commission, and forced to do marketing, Franze

on behalf of BELFOR upheld Sailer's position and said to Plaintiff that Sailer was not doing

anything wrong and that Plaintiff should be doing marketing as Sailer was trying to force

Plaintiff to do. Plaintiff disagreed and asked for a third-party mediator. Franze on behalf of

BELFOR and Sailer said no to a mediator.

        c.      During one of the Skype meetings between Sailer, Franze and Plaintiff, Sailer

threatened Plaintiff with discharge if she did not market, specifically to her multimillion dollar

account insurance/adjuster contacts. Sailer specifically stated, in front of Franze, that Plaintiff's

compensation could be used elsewhere in the company for the benefit of BELFOR, meaning for

the purpose of increasing of revenue for BELFOR, as the justification to fire Plaintiff. Sailer

made a direct link between the threat of firing Plaintiff and his efforts to force Plaintiff to market

to her multi-million dollar contacts.

        d.      Soon after, Sailer reduced Plaintiff's advance commission without Plaintiff's

consent. The reduction request from Sailer was approved and signed by David Cripe and Mike



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Yellen; both are shareholder of BELFOR and set to gain in the $1 billion dollar sell-off of

BELFOR.

        e.      Sailer gave more leads/jobs to Plaintiff than Endre had done that enabled Plaintiff

to meet the minimum revenue for earning commission at commission period ending on June 30,

2021. Plaintiff was hopeful that maybe things were changing for the better. Plaintiff alleges that

BELFOR and Sailer were giving Plaintiff false hopes in order to pacify Plaintiff and avoid a

legal complaint in the form of a lawsuit. Things did not get better. Therefore, Plaintiff appeals to

tolling the statute of limitations where applicable.

        f.      Plaintiff made it clear to Sailer and Franze, verbally and in writing, that

she/Plaintiff would not be doing marketing, specifically to her multimillion dollar account

insurance/adjuster contacts. Plaintiff, verbally and in writing, offered to do marketing but only if

an agreement was put in writing specifying the percent commission and other requirements.

Sailer said no to put a marketing agreement in writing with Plaintiff. Sailer was a witness and

participant on July 3, 2019 when Endre told Plaintiff that she would not be doing marketing. Yet,

Endre and more so Sailer time and again looked for ways to force Plaintiff to do marketing via

fraudulent means.

        g-     Also, Sailer re-interpreted the sales commission by saying that Plaintiff was not

eligible to combine sales and estimator commission, thus denying the 4-point commission

system. Previously both Sailer and Franze had told Plaintiff that she/Plaintiff could earn sales

commission concurrently with estimator commission, but Sailer re-interpreted the commission

program in order to deny concurrent commissions to Plaintiff. During a separate conversation

with Mendheim, an Estimator, Mendheim told Plaintiff that she/Mendheim was of the




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understanding that her/Mendheim's commission was based on the 4-pointt commission system. It

seems that she also was deceived into thinking that she was getting cumulative commissions.

       h.      Because of Sailer's unethical and back-n-forth behavior, Plaintiff was convinced

that Sailer was continuing the misrepresentation, fraud, and inducements that he, Endre and

Cripe had put in place at hiring of Plaintiff for the purpose of unjust enrichment for themselves

and BELFOR to the detriment of Plaintiff. Specifically, to force Plaintiff to raise revenue for

BELFOR without proper, due, and promised compensation in order to execute/commence,

fulfill, and/or complete the $1 billion dollar sell-off of BELFOR.

Reduced Compensation for Plaintiff, Si Billion Dollar Buy-Sell Requirements Not Met

70.    June 30, 2021, at the end of the commission cycle, Plaintiff earned a small estimator

commission for the first time but with the reduction of the promised advanced commission the

overall compensation was lower than previous semesters in which Plaintiff had not earned a

commission due to low assigned revenue. Therefore, Plaintiff's overall compensation was

reduced to less than the promised $75,000/year minimum/base and as written in the Employment

Agreement.

71.    On June 30, 2021, BELFOR did not meet requirements to complete the $1 billion dollar

sell-off of BELFOR; therefore the sell was not completed. The buyer granted BELFOR one more

year to fulfill the requirements, thru June 30, 2022. Plaintiff became aware of these details

around the time Plaintiff was fired, around October 26, 2021.

Second Complaint, Defamation Per Se, Retaliatory Discharge

72.    On October 6, 2021, a job notification came in via email and Sailer assigned Lopez as the

estimator, it was a high revenue commercial job with a steady commercial client. I replied to

Sailer and copied Cripe on the email asking Sailer to assign me as the estimator. Sailer replied



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with a no. In his email response, Sailer told Plaintiff that the best way for her to obtain

opportunities is to market, that is, to develop a "book of business". Sailer also stated that

Plaintiff had told Sailer that she would market and that due to the lack of marketing expanses

he/Sailer could tell that she had not done any marketing. These statements from Sailer about

Plaintiff are a lie and are defamatory per se. Plaintiff never told Sailer that she would market and

Plaintiff was not aware that she even had a budget, and if she had a budget was not aware what

that dollar amount budget was. Plaintiff never lied or made promises in an attempt to induce or

defraud BELFOR regarding marketing. Sailer wrote these lies about Plaintiff in order to portray

Plaintiff as a liar and a fraud. Thereby, Sailer portrayed Plaintiff of breaking the law by

committing fraud and inducement. Thus, Sailer made statements in writing about Plaitnff that

were defamatory per se. Plaintiff alleges that Sailer directed defamation per se in the context of

Plaintiff's marketing as yet another effort to try to force Plaintiff to market without proper, due,

and promised compensation to Plaintiff's multi-million dollar account insurance/adjuster

contacts and yet another effort to intimidate Plaintiff into not filing a legal Complaint in a court

of law by accusing Plaintiff of breaking the law herself. To be clear, Plaintiff did not defraud

BELFOR.

73.     BELFOR has an internal and unofficial rule that an employee may not be terminated

without a legitimate reason, such as being a liar and a fraud, fraud being actionable in a court of

law. Earlier in the year, Sailer had threatened Plaintiff to fire her if she didn't market to her multi-

million dollar contacts. In light of Plaintiff refusing to market without a specific written

agreement and in light of BELFOR not meeting the revenue/profit requirements to fulfill and

complete the $1 Billion dollar sell-off, Sailer needed the excuse of Plaintiff breaking the law in

order to be able to fire Plaintiff especially on a topic so keen to Yellen which is that of a person



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who makes false promises of marketing. Which is why Sailer lied in such a way about Plaintiff

as to compare Plaintiff to Saenz in order to be able to fire Plaintiff and not pay her due, proper

and promised compensation.

74.     As a similar and parallel example, a few weeks before Endre hired Plaintiff, Yellen did

not allow Endre to hire Daniel Saenz. Yellen perceived Saenz as a liar and a fraud, as someone

who says he can bring in a lot of revenue via marketing but does not follow thru in bringing in

that revenue that he promised. Endre was allowed to hire Plaintiff, but in actuality, it was

BELFOR who committed fraud against Plaintiff.

75.     Sailer accused Plaintiff of being a fraud, like Saenz, in order to obtain permission from

Yellen to fire Plaintiff. Sailer obtained permission from Yellen and on October 26, 2021,

BELFOR discharged Plaintiff, which was three weeks after Sailer directed defamation per se

against Plaintiff as a liar and a fraud, just like Saenz.

76.     To be clear, Plaintiff never told Sailer that she would market and when Plaintiff was

interviewed by Endre, Plaintiff specifically told Endre that she did not have a book of business

so she made no guarantees as to marketing results. Plaintiff never lied or committed

misrepresentation or fraud against BELFOR in order to induce BELFOR to hire her or otherwise.

Plaintiff on several occasions informed BELFOR employees and shareholders, verbally and in

writing, that she would not do marketing unless there was something in writing. In reserve, it

was BELFOR who hired Plaintiff with misrepresentations, inducements, and under false pretense

for the purpose of accomplishing unjust enrichment to the detriment of Plaintiff by trying to

force Plaintiff, without payment, to raise revenue by marketing to her multi-million dollar

contacts for the purpose of executing/commencing, fulfilling and/or completing the $1 Billion




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dollar sell-off of BELFOR, even though at hiring BELFOR instructed Plaintiff that she would

not be marketing.

77.    Sailer's defamation per se in writing against Plaintiff was made before of Cripe. The

defamation per se is not protected as it was made with malice in order to fire Plaintiff for not

marketing to her multimillion dollar account insurance/adjuster contacts and in order to not pay

Plaintiff her due, proper and promised compensation, which was all part of BELFOR's unethical,

fraudulent, unlawful and possibly criminal activity.

78.    Additionally, BELFOR communicated to the Department of Employment Security that

BELFOR discharged Plaintiff due to unmet expectations. The unmet expectations is in direct

reference to the lie and fraud that Sailer made up about Plaintiff that Plaintiff had said she would

market but did not. Thereby, BELFOR communicated the defamation per se to the Department

of Employment Security and because of it Plaintiff was denied unemployment benefits.

79.    Also, Endre at hiring Plaintiff promised Plaintiff long-term employment. Due to that

promise, the only way that BELFOR could go back on their word was if Plaintiff broke the law.

Therefore, Sailer fabricated a lie in order to show Plaintiff breaking the law as a person who

committed fraud against BELFOR. With that defamation per se, BELFOR had the excuse it

needed to fire Plaintiff and not pay her due, proper and promised compensation.

80.    Shortly after Sailer's defamation per se, Plaintiff submitted a written complaint to Human

Resources informing them of Sailer's defamation per se and related lack of commission to

Plaintiff due to the diverting of commission to non-Estimators. Three weeks later on October 26,

2021, Franze on behalf of Sailer and BELFOR terminated Plaintiff's employment. BELFOR

never conducted an investigation. At termination, Franze told Plaintiff that BELFOR was

terminating Plaintiff because she/Plaintiff was complaining, for lack of payment among other



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things, and therefore was not happy at BELFOR and since things were not going to change, it

would be better for Plaintiff to leave BELFOR. Sometime later, the Department of Employment

Security (DES) denied Plaintiff unemployment benefits because BELFOR told them that

Plaintiff had not met expectations, that's in reference to Sailer's defamation per se against

Plaintiff. The fact that DES denied Plaintiff unemployment benefits based on BELFOR's answer

confirms that BELFOR communicated to DES the defamation per se from Sailer.

81.    Around the time that BELFOR fired Plaintiff is when Plaintiff found out that BELFOR

had not met the requirements for the $1 billion dollar sell and that BELFOR had until June 30,

2022 to meet the requirements or the sell would not go thru.

82.    When Plaintiff was fired, both BELFOR offices in the Chicago area, Northbrook and

Lisle, were diverting estimator commission, to avoid paying commission to the Estimators, by

assigning non-Estimators as estimators, specifically on high revenue commercial jobs.

83.    Plaintiff alleges that all the misrepresentation and fraudulent activity BELFOR directed

against Plaintiff, from the interview process thru the retaliatory discharge, was for the purpose of

unjust enrichment for BELFOR to the detriment of Plaintiff, specifically, for the purpose of

forcing Plaintiff, without payment, to execute/commence, fulfill, and/or complete the $1 billion

dollar sell of BELFOR.

84.    A few months after the defamation per se incident, Plaintiff emailed Sailer and BELFOR

to ask Sailer for a retraction. A retraction was not made.

             Common Nucleus of Fact for all Counts Below: Counts I thru XIII

85.    Plaintiff re-states and re-alleges paragraphs 1 (one) through 152 (one-hundred fifty-two)

as though fully set forth herein in this Complaint.




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86.     Pursuant Michigan Common Law for Unjust Enrichment, Defendants unjustly enriched

themselves to the detriment of Plaintiff, therefore Plaintiff asks this Honorable Court for relief.

87.     Plaintiff pleads in the alternative and independently to the Employment Agreement as

permitted by Federal Rules of Procedure Rule 8(a)(3) and sites as precedent Ford Motor Co. v.

Ghreiwati Auto, 945 F. Supp. 2d 851 - Dist. Court, ED Michigan 2013. The Employment

Agreement and the breach of contract claim (Count VI) do not expressly or unequivocally cover

the same subject matter as the unjust enrichment claim.

88.    Unjust Enrichment is separate and independent from any actionable cause or claim.

Plaintiff seeks relief for damages for Unjust Enrichment separately and independently from any

other cause, claim, or tort, such as but not limited to fraud.

89.     Defendants exhibited various unethical, fraudulent, unlawful and possibly also criminal

actions against Plaintiff for the purpose of unjust enrichment of BELFOR and its shareholders

and employees to the detriment of Plaintiff, including but not limited to: fraud in the inducement

of a contract, hired under false pretenses, misrepresentation, inducement, false pretenses with

intent to defraud (penal code 750.218 (7)(a)), nepotism (MCL 15.342), defamation per se (MCL

600.2911), broke promises (promissory estoppels), detrimental reliance, unpaid commissions

(MCL 600.2961), taking of trade secrets, breach of contract (MCL 600.5807), retaliation,

retaliatory discharge to avoid payment (common law; MCL 408.483; FLSA), spread contempt

and boycott, coercion (MCL 750.462a; 42 U.S. Code 3617), intimidation (42 U.S. Code 3617),

threaten, work without pay, forced labor (MCL 750.462a; 18 U.S. Code 1589; 42 U.S. Code

3617; 42 U.S. Code 12203), tried to force Plaintiff to break the law by committing fraud and

unjust enrichment to the detriment of self/Plaintiff and others, fraudulent concealment (MCL




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600.5855), and give false hope to Plaintiff of things getting better in order to induce Plaintiff to

not file legal action.

90.     Defendants committed fraud against Plaintiff for the purpose of unjust enrichment by:

        a.      First, Defendants lured Plaintiff to accept to work for BELFOR as an Estimator

by offering her an appealing job offer with a promised minimum base salary of $75,000/year, a

4-point cumulative guaranteed commission plan, and long term employment. Also, Defendants

lured Plaintiff to believe they would be assigning her to good, high revenue, commercial

accounts and that the guaranteed cumulative commission would be based on a sizable amount of

the office's annual $6,000,000 revenue.

        b.      Second, Defendants forced Plaintiff to sign the Employment Agreement almost

one month after she began employment. The employment agreement contained clauses that had

not been presented to Plaintiff before and which were vague and would put into question the

promises that were made to Plaintiff at hiring. Later, BELFOR kept changing the definitions and

interpretations of the Employment Agreement in order to deny, remove, and/or decrease the

financial and professional compensations and opportunities that the Defendants had promised to

Plaintiff during employment interviewing and hiring. Plaintiff complained to BELFOR of their

lack of payment and broken promises. BELFOR responded by stating that they were not doing

anything wrong, when in actuality, they were committing fraud and unjust enrichment against

Plaintiff.

        c.      Third, after signing the Employment Agreement, Defendants broke their promises

to Plaintiff and denied her the opportunities they had promised her. Defendants lowered

Plaintiff's minimum base salary, denied her the opportunity to earn the 4-point guaranteed

cumulative commission, and fired Plaintiff in retaliation. The guaranteed cumulative Estimator



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commission that BELFOR denied to Plaintiff was retained by BELFOR for their own profit

margin and raised revenue, the raised revenue was from Plaintiff's estimate/invoice writing

which was part of her job role/description. Plaintiff's compensation as an Estimator was both, a

minimum base salary and the 4-point guaranteed cumulative commission. BELFOR lowered the

salary and denied the commission to Plaintiff, and retained that money for itself.

        d.      Fourth, after signing the Employment Agreement, Defendants forced Plaintiff to

do marketing without compensation, without any commission/percentage. Marketing was not

part of Plaintiff's Estimator job role/description. Defendants instructed Plaintiff at hiring that

marketing was not part of her job as Estimator. Later, Defendants specifically tried to force

Plaintiff to market to her multi-million dollar insurance/adjuster contacts for the pursue of raising

revenue for BELFOR and to do so without paying Plaintiff any compensation or commission/

percentage for her marketing efforts.

        e.      Plaintiff alleges that Defendants hired Plaintiff as an Estimator but with the

hidden purpose of trying to force Plaintiff to raise revenue by marketing to her multi-million

dollar contacts and not pay her for her efforts. Defendants exhibited various unethical, unlawful,

and possibly even criminal activity to try to force Plaintiff to market to her multi-million dollar

insurance/adjuster contacts and force her to raise revenue and profit/margins without due, proper,

and promised compensation. After Plaintiff complained of non-payment, broken promises and

refused to market to her multi-million dollar contacts without proper, due, and promised

compensation, BELFOR retaliated by firing Plaintiff.

91.     The ultimate purpose of the fraud committed against Plaintiff was for BELFOR to force

Plaintiff raise the revenue and the profit margin of BELFOR, without compensating Plaintiff for

due, proper, and promised compensation, so that the raised revenue and raised profit margin



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from Plaintiff would help execute/commence, fulfill, and/or complete the $1 Billion dollar sell-

off of BELFOR.

92.     Had the Defendants and BELFOR not undermined our entire judicial system with their

systemic and coordinated subversion of the laws of our land and had they fully disclosed o

Plaintiff their needs for why they needed to raise revenue and profit margins for the $1 Billion

dollar sell-off and had they treated Plaintiff fairly in requesting her assistance for the $1 billion

dollar sell-off, instead of forcing and defrauding Plaitnff, to raise the revenue and profit margin,

Plaintiff would then have negotiated a more fair and secure contract that would have been

beneficial for all parties. Plaintiff would have negotiated for herself a percentage/commission

based on the $lBillion dollar sell-off for her efforts to help BELFOR raise revenue and profit

margin that would help execute, fulfill, and/or complete the sell-off. Plaintiff would have also

negotiated for herself a percentage/commission for the increased revenue and increased profit/

margins that took place because of her efforts and capacity to increase revenue and

profit/margins, directly and indirectly, known and unknown. Plaintiff alleges that Defendants and

BELFOR never had any intention to pay Plaintiff for her efforts to help execute/commence,

fulfill, and/or complete the $lBillion dollar sell-off nor for her other efforts to raise revenue and

profit/margins for the unjust enrichment of Defendants to the detriment of Plaintiff, therefore

they committed fraud against Plaintiff.

93.     Defendants and BELFOR made Plaintiff a beneficiary of the $1 Billion dollar sell-off

when they defrauded Plaintiff, via unjust enrichment, for the purpose of forcing Plaintiff raise

revenue and raise profit margins for the purpose of executing/commencing, fulfilling, and/or

completing the $1 Billion dollar sell-off. Plaintiff did facilitate raising the revenue and profit

margin by but not limited to Plaintiff's Xactimate estimate writing and doing sales/marketing.



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Therefore, Plaintiff requests damages in the form of a percentage/commission on the amount of

$1 Billion dollars, whether the sell goes thru or not, and on all past, present and future raised

revenue/profit/margin, known and unknown, directly or indirectly associated with Plaintiff, as

stated herein and elsewhere in this Complaint, specifically under the section of "Damages".

94.    To summarize Defendants' fraud in how Defendants avoided paying Plaintiff her

guaranteed cumulative 4-point commission for their and BELFOR's unjust enrichment to the

detriment of Plaintiff, as detailed throughout this Complaint: 1) Defendants lured Plaintiff to

work for BELFOR by promising her an appealing compensation that would include a guaranteed

cumulative 4-point commission if the minimum revenue was met in order to effect the awarding

of the commission, 2) Defendants would not assign Plaintiff enough revenue to meet the

minimum revenue needed to award Plaintiff the guaranteed cumulative 4-point commission, thus

Defendants prevented Plaintiff from earning the commission, 3) Defendants prevented Plaintiff

from earning the commission by assigning non-estimators into the estimator role instead of

assigning Plaintiff, an Estimator, into the estimator role, 4) non-estimators, such as Project

Managers, who are assigned as estimators on jobs, instead of Plaintiff being assigned as an

estimator on the jobs, do not have a guaranteed commission for the role of estimator that an

Estimator has, therefore, the Project Manager does not get a guaranteed commission for the role

of estimator, 5) by assigning a non-estimator, such as a Project Manager, to the role of estimator

on a job, Defendants avoid paying commission altogether, no commission to the Estimator and

no commission to the Project Manager, 6) thus, Defendants divert the guaranteed cumulative 4-

point commission away from the Estimator, that is Plaintiff, and onto BELFOR for BELFOR's

and Defendants' unjust enrichment to the detriment of Plaintiff. Additionally, the commission




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table for the Estimator is written vaguely and is interpreted at Defendants' whim and re-

interpreted to deny the 4-point commission.

95.    This fraudulent scheme to avoid paying commission to the Estimators by diverting the

commission away from the Estimators and onto Defendants' pockets is a systemic fraudulent

scheme that is practiced against other Estimators, in addition to Plaintiff. Similarly and in

reverse, a similar fraudulent scheme is practiced against Sales Person by forcing Estimators and

Project Mangers to market. By forcing Estimators, such as Plaintiff, to market and not pay

Plaintiff commission to market is a way for Defendants to avoid paying sales and marketing

commission to Sales Persons and thus divert sales commission away from Sales Persons and

onto Defendants' pockets. By swapping assignments, such as but not limited to assigning Project

Managers as estimators and by forcing Estimators to market, is a way for Defendants to avoid

paying promised, due and proper guaranteed cumulative 4-point commissions to all their

employees and divert those commissions onto themselves for the unjust enrichment of the

Defendants to the detriment of Plaintiff and other employees.

96.    The unjust enrichment of BELFOR to the detriment of Plaintiff caused special harm in it

interfered with Plaintiff's financial and professional opportunities and long-term employment at

BELFOR, which BELFOR had promised to Plaintiff and/or at least led Plaintiff to believe.

97.    The unjust enrichment of BELFOR to the detriment of Plaintiff caused Plaintiff great

damages, as stated herein and elsewhere in this Complaint, specifically under the section of

"Damages".

98.    Plaintiff had reasonable reliance on Defendant's promises and assurances. Plaintiff could

not reasonably know that BELFOR was hiring Plaitnff for the purpose of unjust enrichment.

Plaintiff's reliance on Defendant's promises and assurances turned out to be detrimental to



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Plaintiff. Damages pertinent to Defendants' unkept promises are included here and elsewhere in

this Complaint, specifically under the section of "Damages".

99.     Defendants in a coordinated effort exhibited the unethical, fraudulent, unlawful and

possibly criminal actions against Plaintiff willfully, intentionally and maliciously with the

knowledge and purpose to obtain unjust enrichment to the detriment of Plaintiff, and/or with

reckless disregard, and/or at least negligently. Plaintiff requests exemplary and/or punitive

damages to the greatest extent. These damages and requests are included here and elsewhere in

this Complaint, specifically under the section of "Damages".

100.    The ultimate purpose of Defendants' unjust enrichment was to force Plaitnff help

BELFOR execute/commence, fulfill, and/or complete the $1 Billion dollar sell-off of BELFOR

to the detriment of Plaintiff.

101.    Plaintiff became aware of the ultimate purpose of the unjust enrichment for the $1 billion

dollar sell-off of BELFOR around October 26, 2021. Plaintiff filed this Complaint on April 1,

2022 less than 6 (six) months later.

102.    Plaintiff appeals to fraudulent concealment (MI Code 600.5855) and requests from this

Court to accept from Plaintiff a timely submission of this Complaint, to grant Plaintiff recovery

of damages pertinent to the $1 billion dollar sell-off, and other pertinent requests.

103.    Plaintiff requests Declaratory Judgment, MCR 2.605, from this Court in order for

Plaintiff to obtain due compensation.

104.    Plaintiff appeals to Unconscionable Contract or Clause, MCL 440.2302, for this Court to

grant Plaintiff due compensation.

                                  Count I — Defamation, Per Se

                           Defendants: Dale Sailer and BELFOR-USA



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105.    Plaintiff re-states and re-alleges Common Nucleus of Facts for all Counts paragraphs 83

(eighty-three) through 100 (one-hundred) as though fully set forth herein in this Complaint.

106.    Pursuant MI code Section 600.2911 for defamation, per se, Defendants Sailer and

BELFOR made false statements about Plaintiff and communicated those false statements in

writing internally at BELFOR and externally to the Department of Employment Security

therefore Plaintiff asks this Honorable Court for relief.

107.    Sailer and BELFOR made false statements about Plaintiff of breaking the law which is

actionable in a court of law, such as but not limited to: lied, misrepresented herself to BEFLOR,

committed fraud against BELFOR, false pretenses with intent to defraud BELFOR, MI code

750,218.

108.    Sailer and BELFOR made these statements willfully, intentionally and maliciously

knowing that they were false, and/or with reckless disregard of the statements' truth or falsity,

and/or at least negligently.

109.    The statements were not privileged, not opinion, not truthful, and wholly unjustified.

110.    The statements were made in order to fire Plaintiff with the excuse of Plaintiff being a

fraud and breaking the law in order for BELFOR to not pay Plaintiff her due, proper and

promised compensation for the unjust enrichment of all the Defendants to the detriment of

Plaintiff.

111.    Three weeks after the statements of defamation per se against Plaintiff, BELFOR fired

Plaintiff without paying Plaintiff her due, proper, and promised compensation.

112.    The statements caused special harm in that they interfered with Plaintiff's financial and

professional opportunities and long-term employment at BELFOR, which BELFOR had

promised to Plaintiff and/or at least led Plaintiff to believe.



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113.    The statements caused Plaintiff great damages, as stated herein and elsewhere in this

Complaint, specifically under the section of "Damages".

114.    The statements have damaged Plaintiff's reputation; Sailer and BELFOR have publicly

presented Plaintiff as a fraud and lawbreaker.

115.    Defamation Per Se does not require the proof of damages; damages are listed here for the

purpose of requesting pertinent relief.

116.    On January 19, 2022, Plaintiff emailed Sailer and BELFOR to request a retraction. As of

the writing of this Complaint, a retraction has not been made.

117.    The statements of defamation per se were made on October 6, 2021. Plaintiff filed this

Complaint on April 1, 2022, less than 6 (six) months after the statements were made.

       Count II — Hired Under False Pretenses, Misrepresentation, Inducement; Unjust

                                            Enrichment

             Defendants: Matt Endre, Dale Sailer, David Cripe, Michael Yellen,

                           BELFOR-Northbrook and BELFOR-USA

118.    Plaintiff re-states and re-alleges Common Nucleus of Facts for all Counts paragraphs 83

(eighty-three) through 100 (one-hundred) as though fully set forth herein in this Complaint.

119.    Pursuant Michigan Common Law for Unjust Enrichment, Defendants unjustly enriched

themselves to the detriment of Plaintiff, therefore Plaintiff asks this Honorable Court for relief.

120.    Plaintiff pleads in the alternative and independently to the Employment Agreement as

permitted by Federal Rules of Procedure Rule 8(a)(3) and sites as precedent Ford Motor Co. v.

Ghreiwati Auto, 945 F. Supp. 2d 851 - Dist. Court, ED Michigan 2013. The Employment

Agreement and the breach of contract claim (Count VI) do not expressly or unequivocally cover

the same subject matter as the unjust enrichment claim.



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                               Count III — Promissory Estoppels

             Defendants: Matt Endre, Dale Sailer, David Cripe, Michael Yellen,

                          BELFOR-Northbrook and BELFOR-USA

121.    Plaintiff re-states and re-alleges Common Nucleus of Facts for all Counts paragraphs 83

(eighty-three) through 100 (one-hundred) as though fully set forth herein in this Complaint.

122.    Pursuant Michigan Common Law for Promissory Estoppels, Defendants unjustly

enriched themselves with promissory estoppels to the detriment of Plaintiff, therefore Plaintiff

asks this Honorable Court for relief.

123.    Plaintiff pleads in the alternative and independently to the Employment Agreement as

permitted by Federal Rules of Procedure Rule 8(a)(3) and sites as precedent Ford Motor Co. v.

Ghreiwati Auto, 945 F. Supp. 2d 851 - Dist. Court, ED Michigan 2013. The Employment

Agreement and the breach of contract claim (Count VI) do not expressly or unequivocally

124.   The ultimate purpose of Defendants' unjust enrichment with promissory estoppels was to

force Plaitnff help BELFOR raise revenue and/or profit for BELFOR in order to

execute/commence, fulfill, and/or complete the $1 Billion dollar sell-off of BELFOR to the

detriment of Plaintiff.

125.    Plaintiff became aware of the ultimate purpose of the unjust enrichment with promissory

estoppels pertinent to the $1 billion dollar sell-off of BELFOR around the time that BELFOR

fired Plaintiff on October 26, 2021. Plaintiff filed this Complaint on April 1, 2022, less than 6

(six) months later.

                                Count IV — Unpaid Commissions

             Defendants: Matt Endre, Dale Sailer, David Cripe, Michael Yellen,

                          BELFOR-Northbrook and BELFOR-USA



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126.    Plaintiff re-states and re-alleges Common Nucleus of Facts for all Counts paragraphs 83

(eighty-three) through 100 (one-hundred) as though fully set forth herein in this Complaint.

127.    Pursuant The Michigan Sales Representative Act (MCL 62961), Defendants unjustly

enriched themselves with unpaid commissions to the detriment of Plaintiff, therefore Plaintiff

asks this Honorable Court for relief.

128.    Plaintiff pleads in the alternative and independently to the Employment Agreement as

permitted by Federal Rules of Procedure Rule 8(a)(3) and sites as precedent Ford Motor Co. v.

Ghreiwati Auto, 945 F. Supp. 2d 851 - Dist. Court, ED Michigan 2013. The Employment

Agreement and the breach of contract claim (Count VI) do not expressly or unequivocally cover

the same subject matter as the unjust enrichment with unpaid commission claim.

129.    The ultimate purpose of Defendants' unjust enrichment with unpaid commissions was to

force Plaitnff help BELFOR raise revenue and/or profit for BELFOR in order to

execute/commence, fulfill, and/or complete the $1 Billion dollar sell-off of BELFOR to the

detriment of Plaintiff.

130.    Plaintiff became aware of the ultimate purpose of the unjust enrichment with unpaid

commissions pertinent to the $1 billion dollar sell-off of BELFOR around the time that BELFOR

fired Plaintiff on October 26, 2021. Plaintiff filed this Complaint on April 1, 2022, less than 6

(six) months later.

                              Count V — Taking of Trade Secrets

             Defendants: Matt Endre, Dale Sailer, David Cripe, Michael Yellen,

                          BELFOR-Northbrook and BELFOR-USA

131.    Plaintiff re-states and re-alleges Common Nucleus of Facts for all Counts paragraphs 83

(eighty-three) through 100 (one-hundred) as though fully set forth herein in this Complaint.



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132.    Pursuant Michigan Common Law for Taking of Trade Secrets, Defendants unjustly

enriched themselves with the taking of trade secrets to the detriment of Plaintiff, therefore

Plaintiff asks this Honorable Court for relief.

133.    Plaintiff pleads in the alternative and independently to the Employment Agreement as

permitted by Federal Rules of Procedure Rule 8(a)(3) and sites as precedent Ford Motor Co. v.

Ghreiwati Auto, 945 F. Supp. 2d 851 - Dist. Court, ED Michigan 2013. The Employment

Agreement and the breach of contract claim (Count VI) do not expressly or unequivocally cover

the same subject matter as the unjust enrichment with taking of trade secrets claim.

134.    The ultimate purpose of Defendants' unjust enrichment with the taking of trade secrets

was to force Plaitnff help BELFOR raise revenue and/or profit for BELFOR in order to execute/

commence, fulfill, and/or complete the $1 Billion dollar sell-off of BELFOR to the detriment of

Plaintiff.

135.    Plaintiff became aware of the ultimate purpose of the unjust enrichment with taking of

trade secrets pertinent to the $1 billion dollar sell-off of BELFOR around the time that BELFOR

fired Plaintiff on October 26, 2021. Plaintiff filed this Complaint on April 1, 2022, less than 6

(six) months later.

                                 Count VI - Breach of Contract

             Defendants: Matt Endre, Dale Sailer, David Cripe, Michael Yellen,

                           BELFOR-Northbrook and BELFOR-USA

136.    Plaintiff re-states and re-alleges Common Nucleus of Facts for all Counts paragraphs 83

(eighty-three) through 100 (one-hundred) as though fully set forth herein in this Complaint.

137.    Pursuant Michigan Comp. Laws § 600.5807, Defendants unjustly enriched themselves

with breach of contract to the detriment of Plaintiff, therefore Plaintiff asks this Honorable



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138.    The ultimate purpose of Defendants' unjust enrichment with breach of contract was to

force Plaitnff help BELFOR raise revenue and/or profit for BELFOR in order to

execute/commence, fulfill, and/or complete the $1 Billion dollar sell-off of BELFOR to the

detriment of Plaintiff.

139.    Plaintiff became aware of the ultimate purpose of the unjust enrichment with breach of

contract pertinent to the $1 billion dollar sell-off of BELFOR around the time that BELFOR

fired Plaintiff on October 26, 2021. Plaintiff filed this Complaint on April 1, 2022, less than 6

(six) months later.

140.    Plaintiff requests that this Court make a judgment that the Employment Agreement

between Plaitnff and BELFOR is null and void due to the unethical, fraudulent, and possibly

even criminal methods in which BELFOR induced Plaintiff to sign the document.

                      Count VII — Retaliatory Discharge to Avoid Payment

                      Defendants: BELFOR-Northbrook and BELFOR-USA

141.    Plaintiff re-states and re-alleges Common Nucleus of Facts for all Counts paragraphs 83

(eighty-three) through 100 (one-hundred) as though fully set forth herein in this Complaint.

142.    Pursuant FLSA 1938 29 U.S.C. 201, et seq. § 215(a)(3) and § 216, MCL 408.483 and

pursuant Michigan Common Law for Retaliatory Discharge to Avoid Payment, Defendants

unjustly enriched themselves with retaliatory discharge to avoid payment to the detriment of

Plaintiff, therefore Plaintiff asks this Honorable Court for relief.

143.    The ultimate purpose of Defendants' unjust enrichment with retaliatory discharge to

avoid payment was to force Plaitnff help BELFOR raise revenue and/or profit for BELFOR in

order to execute/commence, fulfill, and/or complete the $1 Billion dollar sell-off of BELFOR to

the detriment of Plaintiff.



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144.    Regarding satisfaction of Public Policy, Plaintiff refused to assist BELFOR in their unjust

enrichment which was and is still now being obtained via fraudulent and possibly criminal

methods to the detriment of Plaintiff and many other employees at BELFOR. When Plaintiff

refused to participate in BELFOR's fraudulent and criminal methods for unjust enrichment to the

detriment of self and many other employees at BELFOR, BELFOR directed at Plaintiff

defamation per se of breaking the law and three weeks later fired Plaintiff for breaking the law.

Breaking the law, in the form of fraud against self and others that BELFOR was trying to force

or pressure Plaintiff to perform, includes but is not limited to: divert, lower or deny proper, due,

and promised compensation and commission to self, sales and marketing employees, and

BELFOR subcontractors for the unjust enrichment of BELFOR to the detriment of Plaintiff,

other employees at BELFOR, specifically sales and marketing employees, and BELFOR

subcontractors. Examples include but are not limited to and for which Plaintiff refused to

participate in:

        a. For Plaintiff to defraud the BELFOR subcontractor in order to decrease the

            production costs and thereby increase the profit and profit margin for BELFOR and/

            or thereby lure the client to hire BELFOR for the job, for BELFOR's unjust

            enrichment to the detriment of the BELFOR subcontractor;

        b. For Plaintiff to defraud BELFOR salespersons by Plaintiff doing marketing to the

            salespersons' contacts and clients and thereby prevent the salespersons to earn their

            sales/marketing commissions and thereby divert the salespersons' commissions onto

            BELFOR, for BELFOR's unjust enrichment to the detriment of BELFOR's

            salespersons.




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145.   Additional, but not necessary, satisfaction of Public Policy, Defendants accused Plaintiff

of breaking the law and communicated defamation per se to the Department of Employment

Security who then denied Plaintiff her due unemployment benefits. Defendants accused Plaintiff

of fraud, misrepresentation and false pretenses with intent to defraud, penal code 750.218, and all

three are actionable in a court of law. Plaintiff was fired three weeks after BELFOR accused

Plaintiff of breaking the law. The accusation of breaking the law was defamation per se.

146.   Additional, but not necessary, satisfaction of Public Policy, Plaintiff had been

complaining to BELFOR for lack of payment and lack of promised financial and professional

opportunities. The defamation per se that led to the retaliatory discharges to avoid payment was

prompted following a request from Plaintiff for financial opportunities which had been promised

to her. Platinif lists separately counts for unpaid commission, unjust enrichment, promissory

estoppels and other counts pertinent to BELFOR's avoidance of payment due, proper and

promised to plaintiff.

147.   Plaintiff became aware of the ultimate purpose of the unjust enrichment with retaliatory

discharge to avoid payment pertinent to the $1 billion dollar sell-off of BELFOR around the time

that BELFOR fired Plaintiff on October 26, 2021. Plaintiff filed this Complaint on April 1,

2022, less than 6 (six) months later.

                         Count VIII — False Pretenses with Intent to Defraud

             Defendants: Matt Endre, Dale Sailer, David Cripe, Michael Yellen,

                             BELFOR-Northbrook and BELFOR-USA

148.   Plaintiff re-states and re-alleges Common Nucleus of Facts for all Counts paragraphs 83

(eighty-three) through 100 (one-hundred) as though fully set forth herein in this Complaint.




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149.    Pursuant Michigan penal code False Pretenses with Intent to Defraud 750.218 (7)(a),

Defendants unjustly enriched themselves with false pretenses with intent to defraud to the

detriment of Plaintiff, therefore Plaintiff asks this Honorable Court for relief.

150.   The ultimate purpose of Defendants' unjust enrichment with false pretenses with intent to

defraud was to force Plaitnff help BELFOR raise revenue and/or profit for BELFOR in order to

execute/commence, fulfill, and/or complete the $1 Billion dollar sell-off of BELFOR to the

detriment of Plaintiff.

151.    Plaintiff became aware of the ultimate purpose of the unjust enrichment with false

pretenses with intent to defraud pertinent to the $1 billion dollar sell-off of BELFOR around the

time that BELFOR fired Plaintiff on October 26, 2021. Plaintiff filed this Complaint on April 1,

2022, less than 6 (six) months later.

                                              Damages

152.   Defendants' actions were done willfully, intentionally and knowingly, with reckless

disregard to Plaintiff's rights. Therefore, Plaintiff requests exemplary and/or punitive damages or

other remedies as may be allowed by law, to the greatest extent allowed by law.

153.   Defendants' actions directly caused and proximately caused Plaintiff the following

damages:

154.    Economic damages: including but not limited to lost wages, commissions and benefits at

BELFOR, loss of employment opportunities, loss of financial and professional opportunities

inside and outside of BELFOR, loss of future opportunities at BELFOR, and consequential

damages as may be proven.

        a.     More specific damage, including but not limited to: percentage/commission for

facilitating with the execution, fulfillment, and/or completion of the $1 billion dollar sell-off of



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BELFOR (whether or not the sell goes thru), percentage/commission on present and future,

direct and indirect, known and unknown raised revenue and profit/margins associated with

Plaintiff, reduction of salary base/minimum, unpaid commissions, diverted commissions, denial

of promised and guaranteed commissions under the 4-point commission system, denial of

business/client accounts, denial of financial promises and assurances, denial of future financial

opportunities at BELFOR, denial of unemployment benefits, lost wages due to diverted

commissions, taken/stolen trade secrets in Xactimate estimate writing and pertinent

consequential high profits or commissions related to Xactimate estimate writing from Plaintiff

and/or others, back pay and front pay.

155.   Non-economic damages: the psychological harm to Plaintiff including but not limited to

embarrassment, humiliation, pain and suffering, mental and emotional distress; los of reputation,

consequential damages and loss of potential income due to loss of reputation, exemplary and/or

punitive damages as may be allowed by law, to the greatest extent allowed by law.

156.   Summary of damages per Count:

       a. Count I:            $120,000.000.00 (one-hundred twenty-million dollars)

       b. Count II:           $120,000.000.00 (one-hundred twenty-million dollars)

       c. Count III:          $120,000.000.00 (one-hundred twenty-million dollars)

       d. Count IV:           $120,000.000.00 (one-hundred twenty-million dollars)

       e. Count V:            $120,000.000.00 (one-hundred twenty-million dollars)

       f. Count VI:           $120,000.000.00 (one-hundred twenty-million dollars)

       g. Count VII:          $120,000.000.00 (one-hundred twenty-million dollars)

       h. Count VIII:         $120,000.000.00 (one-hundred twenty-million dollars)

                                          Jury Demand



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       Plaintiff demands a trial by a twelve (12) person jury.

                                         Relief Requested

WHEREFORE, Plaintiff requests this honorable court grant the following:

a. In excess of $75,000 damages, or in excess of minimal jurisdictional amount, against

   Defendant(s), as warranted by the law and the proofs, including:

                i. Economic and non-economic damages as described above;

                ii. The greatest possible combination of non-economic, exemplary and/or

                   punitive damages;

b. Back pay, front pay, and fringe benefits in an amount to be determined at trial;

c. Costs and pre- and post judgment interest as permitted by law;

d. Attorney fees as permitted by law;

e. Make Plaintiff whole;

f. Declaratory Judgment pursuant MCR 2.605;

g. Other remedies as are just, appropriate and permitted by law or equity.

                                        VERIFICATION

       The undersigned certifies that the statements set forth in this instrument are true and

correct, except as to matters therein stated or implied to be on information and belief and as to

such matters the undersigned certifies as aforesaid that she/he verily believes the same to be true.



April 1, 2022
Respectfully Submitted,
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